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              EXHIBIT T
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Claim 1                                              EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

A non-volatile and non-transient computer-readable medium comprising machine-executable code comprising:
code receiving one or more signals containing a device identifier and a device condition from one or more remote alarm monitoring
systems;




Source: https://www.cepro.com/article/architecture_of_adt_pulse_what_it_can_cannot_do


                               Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   1
                          Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 3 of 43
Claim 1                                             EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

A non-volatile and non-transient computer-readable medium comprising machine-executable code comprising:
code receiving one or more signals containing a device identifier and a device condition from one or more remote alarm monitoring
systems;




Source: https://www.adtpulse.com/home/how-pulse-works/z-wave.html,
https://www.homeseer.com/support/homeseer/WebHelp2/features/features_zwave_intro.htm


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   2
                          Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 4 of 43
Claim 1                                             EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

A non-volatile and non-transient computer-readable medium comprising machine-executable code comprising:
code receiving one or more signals containing a device identifier and a device condition from one or more remote alarm monitoring
systems;




Source: Web Portal User Guide (pg. 15) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   3
                          Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 5 of 43
Claim 1                                             EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

A non-volatile and non-transient computer-readable medium comprising machine-executable code comprising:
code receiving one or more signals containing a device identifier and a device condition from one or more remote alarm monitoring
systems;




Source: Web Portal User Guide (pg. 16) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   4
                          Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 6 of 43
Claim 1                                             EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

code retrieving enhanced information based on the device identifier and the device condition;




Source: Web Portal User Guide (pg. 15) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   5
                          Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 7 of 43
Claim 1                                             EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

code retrieving enhanced information based on the device identifier and the device condition;




Source: Web Portal User Guide (pg. 15) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   6
                          Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 8 of 43
Claim 1                                             EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

code determining one or more communication methods and communication destinations based on the device identifier and the
device condition; and




Source: Web Portal User Guide (pg. 46) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   7
                          Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 9 of 43
Claim 1                                             EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

code determining one or more communication methods and communication destinations based on the device identifier and the
device condition; and




Source: Web Portal User Guide (pg. 47) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   8
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 10 of 43
Claim 1                                             EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

code dispatching the enhanced information to the one or more communication destinations using the one or more communication
methods; and




Source: Web Portal User Guide (pg. 46) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   9
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 11 of 43
Claim 1                                             EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

wherein the retrieving enhanced information based on the device identifier and the device condition comprises retrieving images
based on the device identifier and the device condition, the images comprising all of the members selected from the group consisting
of superimposed visual indicators, hierarchically organized graphical images, and vector-based graphical images.




Source: Web Portal User Guide (pg. 15) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   10
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 12 of 43
Claim 1                                             EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

wherein the retrieving enhanced information based on the device identifier and the device condition comprises retrieving images
based on the device identifier and the device condition, the images comprising all of the members selected from the group consisting
of superimposed visual indicators, hierarchically organized graphical images, and vector-based graphical images.




Source: Web Portal User Guide (pg. 15) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf,
https://www.adtpulse.com/home/how-pulse-works/portal/home-view.html


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   11
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 13 of 43
Claim 1                                             EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

wherein the retrieving enhanced information based on the device identifier and the device condition comprises retrieving images
based on the device identifier and the device condition, the images comprising all of the members selected from the group consisting
of superimposed visual indicators, hierarchically organized graphical images, and vector-based graphical images.




Source: Web Portal User Guide (pg. 15) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf,
https://www.adtpulse.com/home/how-pulse-works/portal/home-view.html


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   12
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 14 of 43
Claim 1                                            EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

wherein the retrieving enhanced information based on the device identifier and the device condition comprises retrieving images
based on the device identifier and the device condition, the images comprising all of the members selected from the group consisting
of superimposed visual indicators, hierarchically organized graphical images, and vector-based graphical images.




Source: https://www.adtpulse.com/home/how-pulse-works/portal/home-view.html, https://www.youtube.com/watch?v=LChlyN6Gzxs


                             Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   13
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 15 of 43
Claim 1                                             EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

wherein the retrieving enhanced information based on the device identifier and the device condition comprises retrieving images
based on the device identifier and the device condition, the images comprising all of the members selected from the group consisting
of superimposed visual indicators, hierarchically organized graphical images, and vector-based graphical images.




Source: https://www.adtpulse.com/home/how-pulse-works/portal/home-view.html, https://www.youtube.com/watch?v=LChlyN6Gzxs, Web Portal User Guide
(pg. 15) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf

                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   14
                          Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 16 of 43
Claim 2                                              EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

The medium of claim 1, wherein the code receiving one or more signals containing a device identifier and a device condition from
one or more remote alarm monitoring systems comprises code receiving one or more signals containing a device identifier for a
smoke detector, a pull station, a security detector, a carbon monoxide detector, and a check-in monitor from one or more remote
alarm monitoring systems.




Source: https://www.adt.com/pulse


                               Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   15
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 17 of 43
Claim 2                                             EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

The medium of claim 1, wherein the code receiving one or more signals containing a device identifier and a device condition from
one or more remote alarm monitoring systems comprises code receiving one or more signals containing a device identifier for a
smoke detector, a pull station, a security detector, a carbon monoxide detector, and a check-in monitor from one or more remote
alarm monitoring systems.




Source: Web Portal User Guide (pg. 78, 108) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   16
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 18 of 43
Claim 3                                             EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

The medium of claim 1, wherein the code receiving one or more signals containing a device identifier and a device condition from
one or more remote alarm monitoring systems comprises code receiving one or more signals containing a device condition of normal,
fault, and supervisory from one or more remote alarm monitoring systems.




Source: Web Portal User Guide (pg. 18) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   17
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 19 of 43
Claim 6                                             EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

The medium of claim 1, wherein the code retrieving enhanced information based on the device identifier and the device condition
comprises code retrieving enhanced information including one or more communication links based on the device identifier and the
device condition.




Source: Web Portal User Guide (pg. 15) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   18
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 20 of 43
Claim 6                                             EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

The medium of claim 1, wherein the code retrieving enhanced information based on the device identifier and the device condition
comprises code retrieving enhanced information including one or more communication links based on the device identifier and the
device condition.




Source: Web Portal User Guide (pg. 15) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   19
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 21 of 43
Claim 7                                             EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

The medium of claim 6, wherein the code retrieving enhanced information including one or more communication links based on the
device identifier and the device condition comprises code retrieving enhanced information including one or more communication
links organized on one or more graphical images based on the device identifier and the device condition.




Source: Web Portal User Guide (pg. 15) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   20
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 22 of 43
Claim 8                                             EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

The medium of claim 1, wherein the code retrieving enhanced information based on the device identifier and the device condition
comprises code retrieving enhanced information including written information based on the device identifier and the device
condition.




Source: Web Portal User Guide (pg. 15) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   21
                          Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 23 of 43
Claim 9                                              EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

The medium of claim 8, wherein the code retrieving enhanced information including written information based on the device
identifier and the device condition comprises code retrieving enhanced information including date/time information, account
information, premises information, device information, condition information, support information, contact information, linked
information, and instructional information based on the device identifier and the device condition.




Source: Web Portal User Guide (pg. 11, 15, 47, 96) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                               Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   22
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 24 of 43
Claim 9                                             EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

The medium of claim 8, wherein the code retrieving enhanced information including written information based on the device
identifier and the device condition comprises code retrieving enhanced information including date/time information, account
information, premises information, device information, condition information, support information, contact information, linked
information, and instructional information based on the device identifier and the device condition.




Source: Web Portal User Guide (pg. 15) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   23
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 25 of 43
Claim 11                                            EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

The medium of claim 1, wherein the code determining one or more communication methods and communication destinations based
on the device identifier and the device condition comprises code determining one or more communication methods of email, text
message, instant message, website link, phone, and mail based on the device identifier and the device condition.




Source: Web Portal User Guide (pg. 46) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   24
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 26 of 43
Claim 12                                            EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

The medium of claim 1, wherein the code determining one or more communication methods and communication destinations based
on the device identifier and the device condition comprises code determining one or more device communication destinations of a
personal computer, a phone, a mobile device, a display, and a custom device based on the device identifier and the device condition.




Source: Web Portal User Guide (pg. 46) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   25
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 27 of 43
Claim 13                                            EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

The medium of claim 1, wherein the code determining one or more communication methods and communication destinations based
on the device identifier and the device condition comprises code determining one or more entity communication destinations of an
authority, a first responder, a service company, an owner, a manager, a staff, an occupant, a supplier, a customer, a neighbor, and a
custom entity based on the device identifier and the device condition.




Source: Web Portal User Guide (pg. 96) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   26
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 28 of 43
Claim 13                                            EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

The medium of claim 1, wherein the code determining one or more communication methods and communication destinations based
on the device identifier and the device condition comprises code determining one or more entity communication destinations of an
authority, a first responder, a service company, an owner, a manager, a staff, an occupant, a supplier, a customer, a neighbor,
and a custom entity based on the device identifier and the device condition.




Source: Web Portal User Guide (pg. 97,105) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   27
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 29 of 43
Claim 14                                            EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

The medium of claim 1, wherein the code dispatching the enhanced information to the one or more communication destinations using
the one or more communication methods comprises code dispatching the enhanced information automatically without requiring
operator intervention to the one or more communication destinations using the one or more communication methods.




Source: Web Portal User Guide (pg. 46) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   28
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 30 of 43
Claim 15                                            EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

The medium of claim 1, further comprising code receiving enhanced information, code providing one or more communication
methods, and code providing one or more communication destinations via a user interface that is remotely accessible.




Source: Web Portal User Guide (pg. 79, 96) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   29
                          Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 31 of 43
Claim 17                                             EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

A computerized system comprising a central monitoring system receiving one or more signals containing a device identifier and a
device condition from one or more remote alarm monitoring systems,




Source: https://www.cepro.com/article/architecture_of_adt_pulse_what_it_can_cannot_do


                               Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   30
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 32 of 43
Claim 17                                            EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

A computerized system comprising a central monitoring system receiving one or more signals containing a device identifier and a
device condition from one or more remote alarm monitoring systems,




Source: https://www.adtpulse.com/home/how-pulse-works/z-wave.html,
https://www.homeseer.com/support/homeseer/WebHelp2/features/features_zwave_intro.htm


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   31
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 33 of 43
Claim 17                                            EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

A computerized system comprising a central monitoring system receiving one or more signals containing a device identifier and a
device condition from one or more remote alarm monitoring systems,




Source: Web Portal User Guide (pg. 15) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   32
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 34 of 43
Claim 17                                            EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

retrieving enhanced information based on the device identifier and the device condition,




Source: Web Portal User Guide (pg. 15) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   33
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 35 of 43
Claim 17                                            EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

retrieving enhanced information based on the device identifier and the device condition,




Source: Web Portal User Guide (pg. 15) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   34
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 36 of 43
Claim 17                                            EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

determining one or more communication methods and communication destinations based on the device identifier and the device
condition, and




Source: Web Portal User Guide (pg. 46) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   35
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 37 of 43
Claim 17                                            EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

determining one or more communication methods and communication destinations based on the device identifier and the device
condition, and




Source: Web Portal User Guide (pg. 47) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   36
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 38 of 43
Claim 17                                            EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

dispatching the enhanced information to the one or more communication destinations using the one or more communication
methods,




Source: Web Portal User Guide (pg. 46) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   37
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 39 of 43
Claim 17                                            EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

wherein the enhanced information based on the device identifier and the device condition comprises images based on the device
identifier and the device condition, the images comprising all of the members selected from the group consisting of superimposed
visual indicators, hierarchically organized graphical images, and vector-based graphical images.




Source: Web Portal User Guide (pg. 15) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   38
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 40 of 43
Claim 17                                            EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

wherein the enhanced information based on the device identifier and the device condition comprises images based on the device
identifier and the device condition, the images comprising all of the members selected from the group consisting of superimposed
visual indicators, hierarchically organized graphical images, and vector-based graphical images.




Source: Web Portal User Guide (pg. 15) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf,
https://www.adtpulse.com/home/how-pulse-works/portal/home-view.html


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   39
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 41 of 43
Claim 17                                            EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

wherein the enhanced information based on the device identifier and the device condition comprises images based on the device
identifier and the device condition, the images comprising all of the members selected from the group consisting of superimposed
visual indicators, hierarchically organized graphical images, and vector-based graphical images.




Source: Web Portal User Guide (pg. 15) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf,
https://www.adtpulse.com/home/how-pulse-works/portal/home-view.html


                              Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   40
                         Case 1:16-cv-00815-WJ-SCY Document 78-5 Filed 06/14/18 Page 42 of 43
Claim 17                                           EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

wherein the enhanced information based on the device identifier and the device condition comprises images based on the device
identifier and the device condition, the images comprising all of the members selected from the group consisting of superimposed
visual indicators, hierarchically organized graphical images, and vector-based graphical images.




Source: https://www.adtpulse.com/home/how-pulse-works/portal/home-view.html, https://www.youtube.com/watch?v=LChlyN6Gzxs


                             Discovery is ongoing, and Applied Capital reserves the right to amend or supplement as permitted by the scheduling order (Dkt. 77).   41
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Claim 17                                            EXHIBIT T - U.S. Patent No. 9,728,082 – ADT Pulse

wherein the enhanced information based on the device identifier and the device condition comprises images based on the device
identifier and the device condition, the images comprising all of the members selected from the group consisting of superimposed
visual indicators, hierarchically organized graphical images, and vector-based graphical images.




Source: https://www.adtpulse.com/home/how-pulse-works/portal/home-view.html, https://www.youtube.com/watch?v=LChlyN6Gzxs, Web Portal User Guide
(pg. 15) https://www.adt.com/content/dam/adt/downloads/manuals/Web_Portal_User_Guide_2.pdf

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